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                       6
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                        7   ENVIRONMENTAL PRODUCTS, INC.

                        8

                        9
                                                           UNITED STATES DISTRICT COURT
                       10
                                            EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                       11

                       12
                            ARIEL ELIA, individually and as Successor         Case No. l:16-CV-00557-AWI-EPG
                       13   Trustee to the Alan Elia Declaration of Trust
                            Dated March 18, 2002,                             DEFENDANTS FURTHER BRIEFING ON
                       14                                                     MOTION TO BIFURCATE REGARDING
                                           Plaintiff,                         PHASE TWO PROPOSED COURT
                       15                                                     TRIAL
                                   V.

                       16                                                     Judge:   Hon. Anothony Ishii
                            JOHN ROBERTS, an individual; TEXAS                Date:    October 31,2017
                       17   ENVIRONMENTAL PRODUCTS, INC., a                   Time:    9:00 a.m.
                            Texas corporation; and TEXAS                      Dept.:   2
                       18   ENVIRONMENTAL PRODUCTS, a
                            partnership, joint venture or other form of
                       19   business organization unknown, and DOES 1
                            through 20, inclusive.
                       20                                                     Trial Date:       October 31,2017
                                           Defendant.
                       21
                                   Pursuant to the Court's request for further briefing. Defendants submit the following Points
                       22
                            and Authorities in support of their request that the Phase Two portion of the trial determining the
                       23
                            California Probate Code section 859 claims be determined by the Court sitting without a jury.
                       24
                                                                          I.
                       25                                         ISSUE PRESENTED

                       26          The remaining issue for the court is whether the second phase of trial should be heard and
                       27   determined by the jury or the court. The issue at Phase Two will only be addressed if the jury in
                       28   Phase One determines that a partnership existed. Defendants breached a fiduciary duty, and
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                        1   partnership funds should be returned to the trust as a result. Only at that point, once those issue are

                       2    determined, would there be a question during Phase Two ofwhether Defendants acted in good or bad

                        3   faith in refusing to provide the funds to the trust and the consequence of such a finding.

                       4            Defendant continue to contend that the issue of good versus bad faith, double damages, and

                        5   attorney's fees that have already been bifurcated into the second phase, are all issues that should be

                        6   determined by the Court. The following are the legal authorities that support this position.

                        7                                                 II.
                                                                  LAW AND ARGUMENT
                        8
                            A.      Federal Court Has Jurisdiction Over This Issue Sitting in Equity
                        9
                                    "It is true that a federal court has no jurisdiction to probate a will or administer an estate ....
                       10
                            But it has been established by a long series of decisions of this Court that federal courts of equity
                       11
                            have jurisdiction to entertain suits 'in favor ofcreditors, legatees and heirs' and other claimants against
                       12
                            a decedent's estate 'to establish their claims' so long as thefederal court does not interfere with the
                       13
                            probate proceedings or assume generaljurisdiction ofthe probate or control ofthe property in the
                       14
                            custody ofthe state courts Marshall v. Marshall (2006) 547 U.S. 293,310, citing Markham v. Allen,
                       15
                            326 U.S. 490, 494 (1946) (emphasis added).
                       16
                                    "[WJhile a federal court may not exercise its jurisdiction to disturb or affect the possession of
                       17
                            property in the custody of a state court,... it may exercise its jurisdiction to adjudicate rights in such
                       18
                            property where the finaljudgment does not undertaketo interferewith the state court'spossessionsave
                       19
                            to the extent that the state court is bound by the judgment to recognize the right adjudicated by the
                       20
                            federal court." Id. The Court has interpreted this to mean the federal court has no jurisdiction over
                       21
                            property that is in the custody of a probate court but can adjudicate other claims. Id. at 311-12.
                       22
                                    Thus, this Court, while it may adjudicate claims under Probate code section 850, cannot
                       23
                            impose any orders that in any way interfere with the probate proceedings or assume general
                       24
                            jurisdiction ofthe probate or control ofthe property. To this end, no jury trial rights should be found
                       25
                            that would interfere with California's statutory scheme and the nature of the claims it allows.
                       26
                            B.      Federal Procedural Law and the Seventh Amendment Right to a Jury Trial Only Come
                       27           into Flay When Civil Damages are at Issue

                       28           Here, the core of this matter is an action for Accounting and return of Trust Property under
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                                                                                 2
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                        1   California Probate Code section 850. There is no claim for damages, but instead a request for

                       2    Defendants to return property (money) that allegedly belongs to the trust.

                        3             The Seventh Amendment guarantees a jury trial in a federal case where the amount in issue

                       4    exceeds twenty dollars. The Court examines two issues: (1) whether the claim was historically tried to

                        5   juries, and (2) whether the relief sought is legal or equitable in nature. Tull v. UnitedStates, 481 U.S.

                        6   412, 417 (1987). The amendment "requires trial by jury in actions unheard of at common law

                        7   provided that the action involves rights and remedies ofthe sort traditionally enforced in an action at

                        8   law rather than in an action in equity or admiralty." Parnell v. Southall Realty, 416 U.S. 363, 375

                        9   (1974).

                       10             The two issues from this standard are applied below. Probate claims for return ofproperty and

                       11   breach of fiduciary duty were traditionally heard in equity courts, not courts of law. Moreover, the

                       12   relief requested here is restitutionary, not compensatory, hence the relief sought is equitable.

                       13   C.        An 850 Petition is a Request for the Return of Property and Restitution, Not a Request
                                      for Damages, and is Entirely Equitable in Nature.
                       14
                                      Here the claim is for remedies under Probate Code sections 850 and 859. Plaintiff also raises
                       15
                            claims ofbreach offiduciary duties in a trust context. These claims are equitable, not legal, and must
                       16
                            be tried to the Court.
                       17
                                      Generally, an action for money damages was "the traditional form of relief offered in the
                       18
                            courts of law." Curtis v. Loether, 415 U.S. 189, 196 (1974). Yet the mere fact that money is being
                       19
                            sought does not make the claim one for damages. Ibid. "The Seventh Amendment question depends
                       20
                            on the nature ofthe issue to be tried rather than the character ofthe overall action." Ross v. Bernhard,
                       21
                            396 U.S. 531, 538 (1970) (emphasis added).
                       22
                                      In Chauffeurs, Teamsters, and Helpers, Local No. 391 v. Terry, 494 U.S. 558 (1990), the
                       23
                            Supreme Court held that an action against a union for breach of the duty of fair representation was
                       24
                            analogous to an action by a trust beneficiary against a trustee for breach offiduciary duties to the trust,
                       25
                            actions that "were within the exclusive jurisdiction of courts of equity." Id. at 567. The Court also
                       26
                            observed it has "characterized damages as equitable where they are restitutionary, such as in "action[s]
                       27
                            for disgorgement of improper profits." Id. at 570 (though holding a back pay award is not
                       28
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                        1   restitutionary). The Seventh Amendment's reference to "suits at common law" means actions in

                        2   which "'legal rights are to be ascertained and determined, in contradistinction to those where equitable

                        3   rights alone [are] recognized, and equitable remedies [are] administered.'"/c/. at 564, quoting

                        4   V. Bedford, 3 Pet. 433,447 (1830).

                        5          The claims here are equitable for several reasons. First, even if it is deemed to have some

                        6   separate significance here (it is really just another label on his restitution claim under Probate Code §

                        7   850), a claim offiduciary breach is one that traditionally is within the exclusive jurisdiction ofcourts

                        8   of equity. Chauffeurs, Teamsters, and Helpers, Local No. 391 v. Terry, supra, 494 U.S. at 567. In

                        9   any event under California law (discussed below) such a claim is purely restitutionary and is not

                       10   damages.

                       11          Second, the claim for recovering property and enforcing obligations entered into by the

                       12   decedent sounds as a suit in specific performance which is equitable. In re Bailey's Estate, 42

                       13   Cal.App.2d 509,511 (1941).

                       14          Third, the claim to restore money wrongfully withheld from the plaintiff (or trust) is a claim

                       15   for restitution, not damages, because it requests the defendant turn over funds wrongfully withheld.

                       16   Chauffeurs etc., supra, 494 U.S. at 570. Restitution is an equitable remedy, not a legal claim for

                       17   damages. Id. Restitution restores the status quo and orders return ofproperty that rightfully belongs

                       18   to the plaintiff. Schmidt v. Levi Strauss & Co., 621 F.Supp.2d 796, 803 (N.D. Cal. 2008) (back pay

                       19   and other reliefallowed by statute is designed to make employee whole and therefore is restitution, so

                       20   no jury right). When restitution restores to the plaintiff "particular funds ... in the defendant's

                       21   possession" itisappropriately equitable. Bayer v. Neiman Marcus Group, 861 F.3d 853,865-66 (9^
                       22   Cir. 2017).

                       23           Fourth, a money claim that is intertwined with or incidental to a claim for injunctive relief is

                       24   deemed equitable. Bayer, supra, 661 F.3d at 866. Here the orders for turnover of property form the

                       25   material part of the relief requested and the money aspect is closely intertwined with that request.
                       26           Fifth, under Califomia law, a claim under sections 850 and 859 does not state any claim for

                       27   damages. "Section 850 et seq. does not contemplate an award ofdamages to anyone. The statutory

                       28   scheme's purpose is to effect a conveyance or transfer ofproperty belonging to a decedentor a trust or
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                        1   another person under specified circumstances, to grant any appropriate relief to carry out the

                       2    decedent's intent, and to prevent the looting ofdecedent's estates." Estate ofKraus, 184 Cal.App.4th

                        3   103, 117 (2010) (emphasis in original). An order for a party to "hand over misappropriated funds

                       4    together with a statutory penalty for his bad faith conduct" were "not awards of money to anyone" ~

                        5   they merely placed the money back in the estate pending ultimate disposition by the Probate Court.

                        6   Id. at 117-18.    In other words, they were restitutionary.        Chauffers, supra, 494 U.S. at 570

                        7   (disgorgement is restitutionary and equitable).

                        8           Therefore, the specific claims made here sound entirely in equity for restoration ofproperty,

                        9   not as claims of money damages.

                       10   D.     Jury Trial By Consent is Subject to the Court's Plenary Discretion, and the Court
                                   Should Exercise that Discretion to Submit Only the Section 850 Liability Claims, To the
                       11          Jury* or Empanel an Adyisory Jury Only.

                       12           Here the parties consented to a jury trial in the joint pretrial statement as to the factual issues

                       13   pertaining whether there was a partnership and ifso, whether a breach occurred. Rule 39(c) allows the

                       14   parties to do so, but subject entirely to the Court's plenary discretion. Fed.R.Civ.P 39(c); Ed Peters

                       15   Jewelry Co., Inc. v. C& J Jewelry Co., Inc., 215 F.3d 182,188 (Rule 39 invests the trial court with the

                       16   discretion— but not the duty—^to submit an equitable claim to the jury). On the other hand, as the

                       17   Pretrial Conference Order recognizes, the Defendants requested a court trial as to the second phase

                       18   the trial (PTP, 2:4-7), which is their right. Because ofthis, the court should empanel a jury only for the

                       19   section 850 liability phase. However should the Court be inclined to empanel a jury for all claims,

                       20   then find that the jury is for advisory purposes only. Defendants caution against this due to the

                       21   confusion the evidence in the second phase may cause the jury, particularly with respect to the

                       22   evidentiary impact of prior demands and settlement negotiations that bear on the Court's

                       23   determination of good faith.

                       24           As discussed above, neither the section 850 claim nor the section 859 claim is triable to ajury.

                       25   Both call for equitable restitutionary relief and have been characterized as such by the controlling

                       26   California state court opinions and apposite analogies found in Supreme Court opinions.            Despite

                       27   Defendants' limited consent to ajury for purposes of determining a issues pertaining to partnership

                       28   and breach, the Court should exercise its discretion not to empanel ajury outside of the consented to
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                        1   parameters.

                        2            Alternatively, ifthe Court determines the jury should hear the issues of good versus bad faith,

                        3   it should empanel an advisoryjury only, which is allowed under Rule 39(c). The jury should not be

                        4   allowed to determine the remedial phase, but if the only other option is for the jury to hear the entire

                        5   case, its determinations should have no better than advisory bearing on the Court's ultimate

                        6   disposition, which is an option Defendants maintain would be the least desirable since the Court will

                        7   well equipped to resolve the equitable remedies and to permit the jury to hear evidence applicable to

                        8   the good faith determination could prove to be confusing to a lay jury. The Court's determination of

                        9   this issue and the possible advisory status of the jury's role should be made before any verdict is

                       10   rendered, so the order should be made at commencement of trial or earlier.

                       11                                                   III.
                                                                        CONCLUSION
                       12
                                      Based on the foregoing, and Defendants' earlier briefs, it appears that the Federal Court has
                       13
                            jurisdiction to hear the issue sitting without a jury, since only equitable remedies of restitution are
                       14
                            sought, the Probate Code must apply over any procedural right to a jury trial under the Seventh
                       15
                            Amendment. Accordingly, because the Probate Code explicitly states that actions under that Code are
                       16
                            to be heard by a Court, and a Court is to decide the 859 issue, the Federal Court, sitting in equity in
                       17
                            this case, should determine all matters bifurcated into Phase Two, including the good/bad faith
                       18
                            determination.
                       19
                            Dated: October          , 2017                        McCORMICK, BARSTOW, SHEPPARD,
                       20                                                                 WAYTE & CARRUTH LLP

                       21

                       22

                       23                                                                     Marshall C. Whitney,
                                                                                               Kristi D. Marshall
                       24                                                        Attorneys for JOHN ROBERTS and TEXAS
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                                                                  PROOF OF SERVICE

                            STATE OF CALIFORNIA, COUNTY OF FRESNO

                                  At the time of service, I was over 18 years of age and not a party to this action. I am
                            employed in the County of Fresno, State of California. My business address is 7647 North Fresno
                            Street, Fresno, CA 93720.

                                   On October 27, 2017, I served true copies of the following document(s) described as
                            DEFENDANTS FURTHER BRIEFING ON MOTION TO BIFURCATE REGARDING
                            PHASE TWO PROPOSED COURT TRIAL on the interested parties in this action as follows:

                                   Neal Costanzo Esq.
                                   Costanzo & Associates, PC
                                   575 E. Locust Avenue, Suite 115
                                   Fresno, CA 93720
                                   ncostanzo@costanzolaw.com

                       10
                                    BY ELECTRONIC SERVICE (E-MAIL): Based on a court order or an agreement of the
                       11   parties to accept electronic service, my electronic service address service is
                            elizabeth.davis@mcconnickbarstow.com, and I caused the document(s)to be sent to the persons at the
                       12   electronic service address(es) listed in the Service List. I did not receive, within a reasonable time
                            after the transmission, any electronic message or other indication that the transmission was
                       13   unsuccessful.

                       14           BY CM/ECF NOTICE OF ELECTRONIC FILING: T will electronically file the
                            document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case who
                       15   are registered CM/ECF users will be served by the CM/ECF system. Participants in the case who are
                            not registered CM/ECF users will be served by mail or by other means permitted by the court rules.
                       16
                                   I declare under penalty of perjury under the laws of the United States of America that the
                       17   foregoing is true and correct and that 1am employed in the office ofa member of the bar ofthis Court
                            at whose direction the service was made.
                       18
                                   Executed on October 27, 2017, at Fresno, California.
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                       21                                                                 avis


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